      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 1 of 43




                 IN THEUNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA
                              CIVIL DIVISION
 ___________________________________________________________________________

ANTHONY W. PERRY, Pro se                  :
5907 Croom Station Rd.                    :
Upper Marlboro, MD 20772                  :
(301) 928-2305                            :
                                          :
                   Plaintiff,             :
                                          :Civil Action No: 17-cv-1932 (TSC)
            v.                            :
                                          :
WILBUR ROSS, SECRETARY                    :
U.S. DEPARTMENT OF COMMERCE               :
1401 Constitution Ave., N.W.              :
Washington, D.C. 20230,                   :
                                          :
                   et al.                 :
                                          :
                   Defendants.            :
__________________________________________


           Brief In Support Of Plaintiff’s Motion For Summary Judgment

      Pursuant to Federal Rules of Civil Procedure 56 and Local Rule 7a, I,

Plaintiff Anthony W. Perry respectfully move this Court for a ruling and an Order

for partial summary judgment for Plaintiff of this complaint. The Court order

states it will not entertain argument of the “underlying discrimination” at this

juncture and therefore argument for Count II violation of Rehabilitation Act of

1973, Count III violation of Title VII race and gender discrimination, and Count V

violation of Age Discrimination in Employment Act and each statutes anti-

retaliation provisions is not sought in this motion for summary judgment.




                                          1
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 2 of 43




      Plaintiff files a separate Statement of Facts and electronic submission in

support of this motion for summary judgment. The entire submission is also

submitted by flash drive.

      I wish to note to the Court that Plaintiff’s Amended Complaint contains “JA”

citations. A “JA15” citation in the Amended Complaint is a reference to “Exhibit 1

pg. JA15”, respectively. Also note for efficiency duplicate and non-material pages

were removed from Exhibit 1.

      For reasons provided in this brief, the statement of facts, statute and law,

Plaintiff is entitled to judgment as a matter of law for the summary judgments

below and requests the Court proceed to de novo review of the underlying

discrimination claims.




                                                    Respectfully submitted,




                                                    Anthony W. Perry




                                          2
         Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 3 of 43




TABLE OF CONTENTS

MEMORANDUM IN SUPPORT OF MOTION FOR SUMMARY JUDGMENT


TABLE OF AUTHORITIES AND CASES


I.       INTRODUCTION

II.      BACKGROUND

III.     ISSUE DEFINED BY COURT ORDER

IV.      SUMMARY JUDGEMENT STANDARD OF REVIEW

V.       SUMMARY OF ARGUMENT

VI.      ARGUMENT

      A. Mixed-Cases Dismissed Before MSPB On Jurisdiction Receive Judicial

         Review On the Merits In The District Court

     B. The Board Erroneously Denied A Hearing On My Allegation The Settlement

       Agreement Was Coerced And Erroneously Decided Issue Of Misrepresentation

      C. The Agency Engaged In Misrepresentation, Fraud And Extortion

      D. Agency Maintained A Retaliatory And Hostile Work Environment And Used

         Prohibited Personnel Practices

VII.     SUMMARY JUDGMENTS

      1. Count I.    Involuntary Suspension and Retirement Due to Coercion,

         Duress and Unlawful Acts

      2. Count IV.   5 U.S.C §§ 1981 and 1983

      3. Count VI.   Bias, Statutory, Administrative and Constitutional Violations by

         MSPB

                                           i
     Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 4 of 43




  4. Count VII.   Fraud

  5. Count VIII. Conspiracy to Commit Fraud

  6. Count IX.    Extortion

  7. Count X.     Conspiracy to Commit Extortion

  8. Count XI.    Defamation

  9. Count XII.   Negligent Training and Supervision

  10. Count XIV. Violation of Whistleblower Protections of WPA and WPEA of

     2012

  11. Intentional Infliction of Emotional Distress

  12. Privacy Act Violation

VIII. CONCLUSION




                                         ii
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 5 of 43




                                   TABLE OF AUTHORITIES

CASES

 Barnes v. Small,
      840 F.2d 972 (D.C. Cir. 1988)…………………………………………………..15

 Bell v. Hood,
        327 U.S. 678 (1946)……………………………………………………………...18

 Boyd v. Dep’t of Transp.,
      21 Fed. App’x 906 (Fed. Cir. 2001)…………………………………………….24

 Burlington No. & Santa Fe. Railway Co. v. White,
       548 U.S. 53 (2006)…………………..………………….………....13, 26, 31, 32

 Burns v. Dir., Office of Workers’ Comp. Programs,
      41 F.3d 1555 (D.C. Cir. 1994) .. ……………………………………………..…19

 Covington v. Dep’t of Health & Human Servs.,
       750 F.2d 937 (Fed. Cir. 1984)…………………………………………….……22

 Crane v. Dep’t of the Air Force,
      240 Fed. App’x 415 (Fed. Cir. 2007) ...........................................................28

 El Rio Santa Cruz Neighborhood Health Ctr. v.
        U.S. Dep’t of Health & Human Servs.,
        396 F.3d 1265 (D.C. Cir. 2005) ...................................................................25

 Fassett v. U.S. Postal Serv.,
      85 M.S.P.R. 677 (MSPB 2000)………………………………………...16, 20, 24

 Garcia v. Dep’t of Homeland Sec.,
       437 F.3d 1322 (Fed. Cir. 2006)..............................................................22, 24

 *Kloeckner v. Solis,
       133 S.Ct. 596 (2012).......................................................................... 9, 15, 16

  Meritor Savings Bank, FSB v Vinson,
       477 U.S. 57 (1986)………………………………………………………………..32

 Middleton v. Dep’t of Defense,
       185 F.3d 1374 (Fed. Cir. 1999).............................................................. 22, 25

                                                      iii
          Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 6 of 43




    Morall v. Drug Enforcement Admin.,
          412 F.3d 165 (D.C. Cir. 2005)……………………………………………..18, 25

    National Railroad Passenger Corp. v. Morgan,
          536 U.S. 101 (2002)………………………………………………..…..13, 26, 32

    *Perry v. MSPB.,
          582 U.S. ___ (2017)…..………………………………...…….…...3, 9, 15, 18, 24

    Powell v. Dep’t of Defense,
          158 F.3d 597 (D.C. Cir. 1998)................................................................ .9, 24

    *Schultz v. U.S. Navy,
          810 F.2d 1133 (Fed. Cir. 1987)........................................................16, 22, 24

    Shoaf v. Dep’t of Agric.,
          260 F.3d 1336 (Fed. Cir. 2001)........................................................ 18, 19, 24

    Vance v. Ball State University et al.,
         570 U.S. ___ (2013)………………………………………………………………12

    Whitmore v. Dep’t of Labor,
         No. 11-3084 (Fed. Cir (2012)………………………….………………….…….30


    Statutes and Rules

5 U.S.C. § 7512 ............................................................................................... 16, 17, 19

5 U.S.C. § 7513 .................................................................................. .17, 19, 22, 26, 29

5 U.S.C. § 7702..……...............................................................................3, 9, 14, 16, 29

5 U.S.C. § 7703 .............................................................................................................3

EEOC Notice 915.002 http://www.eeoc.gov/policy/docs/waiver.html...............12, 34




                                                               iv
       Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 7 of 43




I.    Introduction

      Plaintiff seeks review of the Decisions and Orders of the Merit Systems

Protection Board, issued June 12, 2013, and August 6, 2014, in docket numbers

MSPB-DC-0752-12-0486-I-1, MSPB-DC-0752-12-0487-I-1, MSPB-DC-0752-12-0486-

B-1, and MSPB-DC-0752-12-0487-B-1. See Exhibit 1 pgs. JA296-305; Exhibit 1 pgs.

JA584-593.

      This Court has appellate jurisdiction over mixed-case complaints dismissed

by the MSPB for lack of jurisdiction. Perry v. MSPB, 582 U.S. 17 (2017). This is a

case of discrimination involving agency actions appealable to the MSPB which

include unresolved discrimination and retaliation claims under Title VII of the Civil

Rights Act of 1964; Rehabilitation Act of 1973, 29 U.S.C. 794; the Age

Discrimination in Employment Act of 1967, 29 U.S.C. 631, 633a, pursuant to 5

U.S.C §§ 7702(a)(1)(a), 7702(a)(1)(B)(i), 7702(a)(1)(B)(iii), 7702(a)(1)(B)(iv), 7703

(c)(1)(C); prohibited personnel practices in violations of 5 U.S.C 2302(b); other

adverse actions not covered by Title VII; hostile work environment and harassment;

negligence; statutory and constitutional violations by MSPB, U.S. Dep’t of

Commerce and agency employees in their personal capacity; and other intentional

torts. CSRA of 1978; Kloekner v. Solis, 133 S. Ct. 596, 601 (2012); Perry v. MSPB,

582 U.S. 9-17 (2017).

      Plaintiff incorporates his submitted Statement of Facts in support of this

brief for partial summary judgment.      There are four audio files currently in this

MSPB file. At 12;20 to 14:35 on the MSPB hearing audio file, electronic submission



                                            3
       Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 8 of 43




of filename MSPBHearingAudioFiles/ DC120486B1_2018-09-

19_DC_120486B1_8_07_13-1.MP3, Administrative Law Judge announces the

witness testimony order as Chalmers, McGrath, Murphy, Felder, Zuagar, Brown

and myself. (Anthony W. Perry vs. Dep’t of Commerce, MSPB Dkt. No. DC-0752-

12-0486-B-1, electronic submission of filename MSPBHearingAudioFiles/

DC120486B1_2018-09-19_DC_120486B1_8_07_13-1.MP3 at 12:20-14:35.) I asked

Terryne Murphy, the Deciding Official, if she participated in the drafting of the

agency nondisclosure agreement (NDA). Ms. Murphy responded “yes”. On June 30,

2011 I responded to the Agency charges of misconduct. On August 16, 2011 I was

served a NDA. On August 22, 2011 Ronda Brown faxed the NDA to EEOC stating

the Agency and I had reached a settlement on pending cases. On August 26, 2011

Terryne Murphy issued her decision letter. Ms. Murphy testimony has been

intentionally removed from the MSPB record. The first audio file, Anthony W.

Perry vs. Dep’t of Commerce, MSPB Dkt. No. DC-0752-12-0486-B-1, electronic

submission of filename MSPBHearingAudioFiles/ DC120486B1_2018-09-

19_DC120486B1_8_07_13-1.MP3 ends with Brian McGrath testifying at 1:02:15.

The second, electronic submission filename MSPBHearingAudioFiles/

DC120486B1_2018-09-19_DC120486B1_8_07_13-2.MP3, audio file starts and ends

with Benjamin Felder testifying at 19:47 and continues into audio file filename

MSPBHearingAudioFiles/ DC120486B1_2018-09-19_DC120486B1_8_07_13-3.MP3

followed by Ronda Brown. The last file is electronic submission filename

MSPBHearingAudioFiles/ DC120486B1_2018-09-19_DC120486B1_8_07_13-4.MP3



                                          4
       Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 9 of 43




of the agency lawyer considering whether to call me as a witness, which it did not.

These audio files have been annotated with the date of my request for access.

II.   Background

      [I], Anthony W. Perry, was hired by the U.S. Census Bureau in 1986, and

worked for the federal government for nearly 30 years, rising to the level of a GS-14

Supervisory Information Technology Specialist. (Exhibit 1 pgs. JA31; Exhibit 1 pg.

JA72); Perry v. MSPB, 829 F.3d 760, 762 (CADC 2016). I exercised supervisory

responsibility including the project manager of the development and deployment

several Census Bureau Information Technology systems. (Exhibit 1 pgs. JA220-21).

In the mid-2000s, I developed osteoarthritis and began to suffer persistent groin,

buttock, and hip pain. To manage the pain, my supervisor allowed me to take

frequent breaks during normal working hours and to make up missed time or

complete outstanding projects after hours. (Exhibit 1 pgs. JA34-35). In 2007, I filed

the first of a series of complaints with the Census Bureau’s Equal Employment

Opportunity (EEO) Office, and later before an Administrative Judge of the Equal

Employment Opportunity Commission (EEOC), alleging discrimination based on

race and age, and (later) reprisals and gender discrimination for filing

discrimination claims after which the agency continued to take numerous actions

detrimental to my career. (Exhibit 1 pgs. JA162-178; Exhibit 1 pgs. JA195-206;

Exhibit 1 pgs. JA222-234). I alleged that I had been passed over for promotions,

denied training, received unwarranted performance evaluations as a result of

discrimination, retaliation, disparate treatment and other adverse personnel


                                          5
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 10 of 43




actions. (Exhibit 1 pg. JA5 at 1; Exhibit 1 pgs. JA162-178; Exhibit 1 pgs. JA195-

196; Exhibit 1 pg. JA341 at III.).

      In April of 2011, my supervisor Dale Reed began requiring his staff to sign in

and out of work using an attendance log. I sought an explanation of that new

procedure/policy because, in addition, no other supervisory GS-14 was being

subjected to the new manual sign-in procedure. The manual sign-in was

discontinued in May 2011. It was not placed in the documentary record. Mr. Reed

refused to provide an explanation of the reason for the new procedure. (Exhibit 1

pg. JA66 at E.). In May of 2011, I received an explanation for the new sign-in

procedure and began to use the attendance log. (Exhibit 1 pg. JA66 at E.).

      Simultaneously, I was actively pursuing settlement discussion of pending

claims before the Equal Employment Opportunity Commission (EEOC). (Exhibit 1

pgs. JA162-178 Exhibit 1 pgs. JA182-191; Exhibit 1 pgs. JA227-234). I was also

working under a supervisor approved schedule which included an accommodation

allowing frequent breaks to manage my disability. I also had used over 300 hours of

sick leave for my disability between 2009 through my departure with no impact on

my performance.

      On June 7, 2011 I received a Notice of Proposed Removal from, Darren

Gutschow, a Census Bureau employee who was not my direct supervisor. (Exhibit 1

pgs. JA43-55). The Notice proposed to terminate my employment, alleging that I

had been absent during regular working hours and thus had been paid for hours I

had not worked. The Notice also relied on my “failure to follow [a] supervisory

                                         6
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 11 of 43




directive” requiring daily completion of an attendance record log on 15 occasions

between April 18, 2011 and May 20, 2011. (Exhibit 1 pgs. JA52-53 at 2). I

responded stating that I was working in accordance to my supervisor approved

schedule.

      Prior to the Deciding Official’s decision to my response of the misconduct

charges, I was served a nondisclosure settlement agreement (NDA) that required

me to serve a suspension for thirty calendar days, retire no later than September 4,

2012, and to “waive, release and forever discharge the Agency” from any claims

raised in each of my prior pending discrimination actions, as well as any claims

related to actions taken pursuant to the Settlement”. (Exhibit 1 pgs. JA15-20;

Exhibit 1 pgs. JA30-34).

      Within days and still prior to the Deciding Official’s decision to my response

to the charges of misconduct, Ronda Brown informed the EEOC by facsimile that

the Commerce Department and Complainant had reached agreement regarding

settlement of my prior pending EEOC actions. (Exhibit 1 pg. JA14). Terryne

Murphy then issued a decision to sustain charges but impose 30-day suspension

only. (Exhibit 1 pg. JA72-73 ¶¶ 3, 5).   In November 2011, the Census Bureau

formally approved my request for disability accommodation and I continued to work

under that accommodation until retirement. I attempted to rescind my retirement

explaining to the Deciding Official that I needed and wanted to stay several more

years. (Exhibit 1 pg. JA69).




                                          7
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 12 of 43




      I served the 30-day suspension and after my early retirement took effect, I

filed a pro se appeal with the MSPB. (Exhibit 1 pgs. JA1-20). I filed an online

appeal specifying my claims as “Involuntary Retirement” and “Suspension for more

than 14 days”. In an attachment, I claimed that I had been improperly suspended

and coerced into retirement. (Exhibit 1 pgs. JA1-20). I argued that the Census

Bureau’s proposed removal notice was the product of race, age, and disability

discrimination as well as retaliation for my prior discrimination complaints; that

the agency could not substantiate the charges against me; and that the agency had

misrepresented the charges against me and denied me due process and the proper

appeal and/or judicial review rights. As a result, I claimed that the agency had

improperly coerced me into the settlement agreement in which I released those

claims. (Exhibit 1 pg. JA3-5; Exhibit 1 pgs. JA7-12).

      On appeal to the MSPB, the AJ ordered me to show cause why the challenge

should not be dismissed for lack of jurisdiction. I submitted almost two hundred

pages of evidence to support my claims. (Exhibit 1 pg. JA30-37, Exhibit 1).

      After reviewing the evidence but without holding a hearing on the issue of

coercion, the AJ dismissed the appeal for lack of jurisdiction. (Exhibit 1 pgs. 259-

266). In particular, the AJ decided that both the 30-day suspension and retirement

were voluntary because they resulted from a valid settlement agreement. The

Board granted a petition for review to hear only the issue of misrepresentation, and

remanded the case to the AJ for further proceedings.




                                           8
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 13 of 43




      On remand, the AJ held a hearing and concluded that I “failed to prove that

I was coerced or detrimentally relied on misinformation when I agreed to settle his

appeals.” S. Ct. Dkt. 16-399, Pet. App. 33a. The AJ again dismissed the appeal for

lack of jurisdiction. I again petitioned the Board for review. This time the Board

affirmed the AJ.

      I filed a petition for review in the Court of Appeals for the D.C. Circuit. The

court ordered me to “show cause why this petition should not be dismissed for lack

of jurisdiction or transferred to the United States Court of Appeals for the Federal

Circuit.” Anthony W. Perry v. MSPB, S. Ct. Dkt. 16-399, Pet. App. 18a. The D.C.

Circuit directed the parties to “address in their briefs (1) whether this court has

jurisdiction to hear this case under 5 U.S.C. § 7703(b)(1)(B); and (2) if not, whether

this case should be transferred to the Federal Circuit or a district court pursuant to

5 U.S.C. § 7703(b)(1)(A) or (2),” and appointed counsel as amicus curiae “to present

arguments in favor of petitioner’s position.”

      The D.C. Circuit held that it was constrained to transfer the case to the

Federal Circuit. See S. Ct. Dkt. 16-399, Pet. App. 2-3a, 15a. (citing Powell v.

Department of Defense, 158 F.3d 597 (D.C. Cir. 1998)).

      The Federal Circuit docketed the appeal, but granted [my] unopposed motion

to hold the briefing in abeyance pending the filing and disposition of a petition for

certiorari, which the Court granted on January 13, 2017. See Order [Dkt. 21], Perry

v. MSPB, No. 2016-2377 (Fed. Cir. Aug. 31, 2016). Here, as in Kloeckner, the

CSRA answers “in crystalline fashion,” 133 S.Ct. 604: cases involving both civil-

                                           9
       Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 14 of 43




service claims and discrimination claims are subject to review in district court to

preserve federal employees’ statutory “right” to “trial de novo” of their

discrimination claims. 5 U.S.C. §§ 7702(a)(1); 7702(e)(3); 7703(b), (c).

       On June 23, 2017, the Supreme Court ruled that “the proper review forum

when the MSPB dismisses a mixed case on jurisdictional grounds is district court”.

Perry v. MSPB, 582 U.S. at 17 (2017).

III.   Issue Defined By The Court Order

       The Court orders the parties to brief the issue of whether the Merit Systems

Protection Board’s (“MSPB”) decision dismissing Plaintiff’s appeal for lack of

jurisdiction should be affirmed by this Court. The Order further states that “at this

juncture, the court will not entertain arguments on the underlying discrimination

claim(s). Therefore, Count II claims of violation of the Rehabilitation Act of 1973

and anti-retaliation provisions, Count III claims of violation of Title VII and anti-

retaliation provisions, and Count V violation of the Age Discrimination in

Employment Act and anti-retaliation provisions in the instant motion will not be

addressed at this juncture pursuant to the Court’s Order. Each is claimed to be

underlying discrimination of the materially adverse actions by the Agency. By this

Order, Plaintiff believes the Court has not prevented plaintiff from addressing those

“active” discrimination claims I was pursuing at the time the Agency proposed my

termination.




                                           10
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 15 of 43




IV.   Summary Judgment Standard Of Review

      The Court shall grant summary judgment where there is no disputed genuine

issue of material fact and the movant is entitled to judgment as a matter of law.

Fed. R. Civ. P. 56(a). Celotext Corp. v. Catrett, 477 U.S. 317, 322-23 (1986); See

Anderson v. Liberty Lobby, Inc., 477 U.S. 242, 247 (1986). The mere existence of a

factual dispute does not preclude summary judgment; “the requirement is that

there be no genuine issue of material fact.” Anderson, 477 U.S. 242, 247-48 (1986).

The movant must rely on record materials to demonstrate the absence of any

genuinely disputed issues of material fact. Fed R. Civ. P. 56(a). Celotex Corp., 477

U.S. 324. The nonmoving party’s response must present his own evidence beyond

the pleadings to demonstrate specific facts showing that there is a genuine issue for

trial. Celotex Corp., 477 U.S. 324. A fact is material if, under applicable law, it

could affect the outcome of the case. Anderson, 477 U.S. 247-48. A dispute is

genuine if the “evidence is such that a reasonable jury could return a verdict for the

nonmoving party.” Doe v. Dep’t of Treasury, 706 F. Supp. 2d 1,5 (D.D.C. 2009);

Anderson, 477 U.S. 247-48.

      To avoid summary judgment, the nonmoving party must show more than

“[t]he mere existence of a scintilla of evidence in support of” his position. Anderson,

477 U.S. at 252. The non-moving party must “designate specific facts showing that

there is a genuine issue for trial.” Celotex, 477 U.S. at 324. The nonmoving party’s

opposition “may not rest upon mere allegation or denials of his pleading but must




                                          11
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 16 of 43




present affirmative evidence showing a genuine issue for trial.” Laningham v. U.S.

Navy, 813 F.2d 1236, 1241-42 (D.C. Cir. 1987).

V.    Summary Of The Argument

      Judicial review of mixed cases the MSPB dismisses for lack of jurisdiction

receives judicial review in the district court where Plaintiff can request a decision

on both the issue of the civil-service violations and violations of anti-discrimination

laws. Once in district court, a mixed case should be decided on the merits.

      I was working in accordance to a supervisor approved schedule since 2007.

That schedule allowed me to take frequent breaks and to make-up time outside of

my regular 7:30a – 5:00p schedule. (Am. Cmpl. ¶¶ 80, 83, 85). It also allowed me to

attend full-day and part-day GSA CIO-University and Commerce Executive

Leadership Development Program seminars. (Am. Cmpl. ¶¶ 32, 35). I was also

actively pursuing settlement of prior pending EEOC claims of race and age

discrimination and retaliation claims against the U.S. Census Bureau.

      June 7, 2011, I was served a notice of removal by, Darren Gutschow,

Assistant Div. Chief Information Systems Resource Office, an employee who was

not my supervisor charging me with misconduct for receiving pay for time not

worked and for failure to follow sign-in and sign-out procedure started in April 2017

and discontinued in May 2017. Both Gutschow and Reed were empowered by the

agency to take tangible employment actions against me. (Vance v. Ball State

University et al., 570 U.S. Pp. 9-30 (2013)). This is a retaliatory and discriminatory

personnel action under Title VII, 5 U.S.C. 2302 (a)(2)(A) and a prohibited personnel



                                           12
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 17 of 43




action pursuant to 5 U.S.C. 2302(b)(9)(A)(ii). I responded to the charges explaining

I worked in accordance to a supervisor approved schedule and accommodation and

absent my supervisor providing contrary evidence that should have been the end of

it. The Notice’s threat of termination based on unsubstantiated charges of

misconduct was used to coerce me into the NDA I was served requiring forfeiture of

pending EEOC cases, suspension without pay, resignation and other adverse

personnel actions. The NDA is a prohibited personnel practice and violates 5 U.S.C.

2302(b)(13). Further, this NDA violates EEOC Guidance 915.002 on unwaivable

rights. (Exhibit 4 pg. 1-7; or see MSPB Docket No. DC-0752-12-0486-B-1, Tab4 Vol.

1, EEOC Guidance Document pg. 1-7). This agreement violates basic contract law

as it wasn’t voluntary and knowing and no consideration was received by me that I

was not otherwise entitled to enter the NDA. The misconduct charges were a

knowingly misrepresentation of the charges, fraud and extortion because the agency

knew it could not sustain charges and that there was no basis for the charges in the

first instance. The Deciding Official also directed me to withdraw any other

pending actions I might be pursuing. (Exhibit 5 pgs. 3) I subsequently withdrew

Office of Special Counsel complaint MA-11-2619 and communicated the withdrawal

to the Union Official, Johnny Zuagar. (Exhibit 5 pg. 4).

      The Notice, the NDA and the personnel actions within including the

forfeiture of prior pending EEOC claims are materially adverse personnel actions

and violate Title VII anti-discrimination and anti-retaliation provisions, other

discrimination statutes, violate my due process rights, equal protection, property



                                          13
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 18 of 43




rights, statutory and other constitutional rights, is a prior restraint, per se

discrimination, per se retaliation, may be separate charges of discrimination and

retaliation itself and was intended to prevent me from filing an action with the

EEOC while I was still employed. (Exhibit 3 pgs. 18-28 starting at III.); (Exhibit 4

pg. 3 ¶ 2); Burlington No. & Santa Fe Rlwy. Co v. White, 548 U.S. 53 (2006).

(National Railroad Passenger Corp. v. Morgan, 536 U.S. 101 (2002)).

      This Court should vitiate the unlawful agreement in its entirety, return me

to status quo ante immediately upon a favorable ruling on the merits and render

summary judgment on all the prior pending EEOC cases in [part] due to the coerced

and involuntary forfeiture of all pending claims and the Agency failure to timely

adjudicate prior EEO/EEOC complaints and the documented persistent bad faith

Agency negotiations. The Court should then proceed to adjudicate the “underlying

discrimination” claims in the instant case.

      The Agency violated administrative procedures and law, anti-discrimination

law and their anti-retaliation provisions, Plaintiff’s statutory and constitutional

right to due process, equal protection, property rights, prior restraint and

committed fraud, extortion and other torts and violated procedures required by law.

The MSPB violated administrative procedures required by law, made rulings not in

accordance with law and lacking substantial evidence and exhibited bias, violated

my constitutional rights of due process and equal protection.




                                           14
        Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 19 of 43




VI.      Argument

      A. Mixed-Cases Dismissed Before MSPB On Jurisdiction Receive Judicial

         Review On the Merits In The District Court

         I incorporate the Statement of Facts submitted in support of this brief for

Partial Summary Judgment of claims in the Amended Complaint. As an initial

matter, the MSPB ALJ denied my supervisor of record, my 2nd line supervisor and

the author of the proposed removal as witnesses and denied material evidence.

(Exhibit 1 pg. JA506 at E.; Exhibit 1 pgs. JA471-472; Exhibit 1 pg. JA576 ¶ 1;

Exhibit 1 pg. JA590 ¶ 9).

         I have statutory and constitutional rights to challenge the MSPB’s final

order. Civil Service Reform Act provide for judicial review of MSPB decisions of a

mixed-case in district court. A non-frivolous allegation of jurisdiction generally

suffices to establish jurisdiction upon initiation of a case. See Jerome B. Grubart,

Inc., 513 U. S., at 537. Cases of discrimination subject to the provisions of 5 U.S.C.

§ 7702 should be filed in district court, pursuant to the enforcement provisions of

the various applicable antidiscrimination statutes. 5 U.S.C. § 7703(b)(2).

Kloeckner v. Solis, 133 S. Ct. at 602, 607. The Board’s regulations are the same.

C.F.R. § 1201.157.      “Federal employees, . . . , have a right to pursue claims of

discrimination in violation of federal law in federal district court. . . . See § 7703(c)

(preserving “right to have the facts subject to trial de novo by the reviewing court”

in any “case of discrimination” brought under § 7703(b)(2). (Perry v. MSPB, 582

U.S. 8 (2017)).     In the district court, I can seek review of the Board’s decision and



                                             15
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 20 of 43




pursue the “underlying” discrimination claims. (Barnes v. Small,, F.2d, 978-79

(D.C. Cir. 1988) (describing district court review in mixed cases appealed from the

Board).

      The Board’s analysis of its own jurisdiction often overlaps with the merits of

the employee’s claim that a personnel action was coerced by discrimination or

otherwise involuntary. (Boyd v, Dep’t of Transportation, 21 21 Fed. App’x 906, 909

(Fed. Cir. 2001) (reviewing Board jurisdictional decision that turned on whether

allegations of hostile work environment were non-frivolous). “The MSPB exercised

jurisdiction over the instant case twice and rendered two decisions.” (Anthony W.

Perry v. Department of Commerce, Dkt. No. MSPB-DC- 0752-12-0486-B-1). That

the MSPB rejected [my] claim of involuntariness on the merits “did not retroactively

divest the MSPB of jurisdiction to render that decision.”   Perry vs. MSPB, S. Ct.

Dkt. 16-399 Pet. Br. at 21. It “is not what the MSPB determined about

appealability; it is instead the nature of an employee’s claim that [I] had been

“affected by an action [appealable] to the [MSPB]” (here, suspension for more than

14 days and involuntary removal, see §7512(1), (2)). Perry vs. MSPB, 582 U.S. 9-17

(2017).

      If “an employee can show that the agency knew that the reason for the

threatened removal could not be substantiated, the threatened action by the agency

is purely coercive.” Schultz v. U.S. Navy, 810 F.2d 1133, 1136 (Fed. Cir. 1987).

That rule applies with equal force to personnel actions taken pursuant to a

settlement agreement. Thus, the Board will consider a settlement involuntary if



                                          16
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 21 of 43




the agency “knew or should have known” that the proposed personnel action

precipitating the settlement “could not be substantiated.” Fassett v. U.S. Postal

Serv., 85 M.S.P.R. 677, 680 (MSPB 2000) (setting aside settlement where the

“agency should have known that the appellant’s removal based on this charge could

not be substantiated”). With the coerced settlement set aside, the Board could have

exercised jurisdiction over the relevant employment action.

      MSPB’s jurisdiction and the merits of an alleged involuntary separation are

“inextricably intertwined.” Schultz v. United States Navy, 810 F.2d 133, 1136 (Fed.

Cir. 1987). If it is established that a resignation or retirement is involuntary, the

MSPB not only has jurisdiction, “but also the employee wins on the merits and is

entitled to reinstatement.” Schultz, 810 F.2d at 1136. “Because the MSPB

indisputably had and exercised jurisdiction over the instant case, the suggestion

that this is not a case that [I] could “appeal to the [MSPB],” was rejected by

Kloeckner. 5 U.S.C. § 7702(a)(1)(A) See 133 S. Ct. at 604;     Perry v. MSPB, S. Ct.

Dkt. 16-399, Pet. Br. at 20-21.

      I made a non-frivolous allegation that I was coerced into an unlawful

nondisclosure gag/agreement requiring a 30-day suspension and early retirement.

due in part to disability discrimination, race and age discrimination, retaliation,

and later gender discrimination. I also charge that the Census Bureau engaged in

misrepresentation of the charges, engaged in fraud and extortion, conspiracy,

subjected me to a hostile work environment and other intentional torts against me

in order to justify its adverse actions and imposition of the nondisclosure



                                          17
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 22 of 43




gag/agreement.     I also claim the Agency’s use of an NDA to hide its inability to

prove the charges of misconduct while executing constructive personnel actions

denied me statutory rights, due process and is retaliation continuing a hostile work

environment; and the MSPB violated administrative law in failing to hold a hearing

on the issue of coercion, exhibited bias in failing to consider the totality of the

evidence, violated administrative and constitutional law of due process and equal

protection. 5 U.S.C. §§ 7512(1),(2) and 7513(d).

      Since 2007, I worked in accordance to a supervisor approved schedule and

accommodation to which no one objected. (Am. Cmpl. ¶¶ 74, 80-81, 83-84 ).             I

explained that to the Agency and to the MSPB in my response to the Notice of

Removal and my appeal. (Exhibit 1 pgs. JA5-6; Exhibit 1 pgs. JA65 at 1). Here,

the agency knew or should have known the basis for the removal was

unsubstantiated and therefore my 30-day suspension and early retirement was the

result of improper actions by the agency.

      “A party [may] establish jurisdiction at the outset of a case by means of a

non-frivolous assertion of jurisdictional elements,’” Jerome B. Grubart, Inc. v. Great

Lakes Dredge & Dock Co., 513 U. S. 527, 537 (1995). See Anthony W. Perry v.

MSPB, S. Ct. Dkt. 16-399 Pet Br. for Cert at 21–22. See also Bell v. Hood, 327 U. S.

678, 682–683 (1946) (To invoke federal-question jurisdiction, allegations in a

complaint must simply be more than “insubstantial or frivolous,” and “[i]f the court

does later exercise its jurisdiction to determine that the allegations in the complaint




                                            18
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 23 of 43




do not state a ground for relief, then dismissal of the case would be on the merits,

not for want of jurisdiction.”). Perry v. MSPB, 582 U.S. at 10 (2017).

      “Whether a complainant’s allegations succeed or fail on the merits has

nothing to do with the adjudicator’s jurisdiction over those allegations.” Perry v.

MSPB, S. Ct. Dkt. 16-399 Pet. Br. at 24; See, e.g., Steel Co. v. Citizens for a Better

Env’t, 523 U.S. 83, 89 (1998); Bell v. Hood, 327 U.S. 678, 682 (1946). Perry v.

MSPB, 582 U.S. 17 (2017).

      “[I]n determining whether an alleged act of coercion caused an employee’s

involuntary retirement, a court need not limit itself to any particular timeframe.”

(Terban v. Dep’t of Energy, 216 F.3d 1021, 1024 (Fed. Cir. 2000) (emphasis added).

(“the most probative evidence of involuntariness “will usually be evidence in which

there is a relatively short period of time between the employer’s alleged coercive

act[s] and the employee’s retirement.” Id. But, failure of the MSPB to consider the

totality of the evidence in the instant case is an abuse of discretion.   See Terban v.

Dept of Energy, 216 F.3d 1021, 1024 (Fed.Cir. 2000). Morall v. Drug Enforcement

Admin., (“Because the [AJ] failed to consider the totality of the circumstances

surrounding Shoaf’s resignation, we vacate and remand.”)        Shoaf v. Dep’t of

Agriculture, 260 F.3d 1336 (Fed. Cir 2001).

      An agency may take an action covered by 5 U.S.C. 7513(a) against

an employee only for such cause as will promote the efficiency of the service. It

must explain the efficiencies for which the actions were taken. Failure to do so is a

violation of due process. (Electronic Submission Audio file,



                                           19
         Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 24 of 43




DCCircuit_PERRYvMSPB14-1155 at 29:35-31:46). In an abuse of discretion, the

MSPB decided the issue of involuntariness due to coercion without a hearing and

wrongfully decided the issue of misrepresentation. An appeal and a hearing on

adverse personnel actions defined by 5 U.S.C. 7512(1), (2) is a procedure required by

law and failure to provide for such is a violation of my constitutional right to due

process. 5 U.S.C. 7513(d). In its decision to impose a 30-day suspension, the

Agency decision document failed to provide the proper administrative or judicial

review rights for the imposed adverse actions. (Exhibit 1 pgs. JA72-73). The

agency avoided the legal requirements for the constructive suspension, termination

and the remaining adverse actions through the imposition of an illegal

nondisclosure gag/agreement. (5 U.S.C § 7513(d); 5 U.S.C. §2302(b)(13)).

         Both the Board’s June 12, 2013 remand order and its August 6, 2014 will be

before the Court. (Burns v. Dir. Office of Worker’s Comp. Programs, 41 F.3d 1555,

1561-62 (D.C. Cir. 1994)). If MSPB’s decision is “(1) arbitrary, capricious, an abuse

of discretion, or otherwise not in accordance with law; (2) obtained without

procedures required by law, rule, or regulation having been followed; or (3)

unsupported by substantial evidence”, this court cannot affirm the MSPB dismissal

for lack of jurisdiction. (Shoaf v. Dep’t of Agriculture, 260F.3d 1336 (Fed. Cir.

2001).

  B. The Board Erroneously Denied A Hearing On My Allegation The Settlement

     Agreement Was Coerced And Erroneously Decided Issue Of Misrepresentation




                                          20
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 25 of 43




      The imposition, then, of the nondisclosure “settlement agreement requiring a

30-day suspension, early retirement and other personnel actions was coerced, and

thus involuntary,” because “the agency threatened to take a future disciplinary

action that it knew or should have known could not be substantiated.” Schultz, 810

F.2d at 1136; Fassett v. U.S. Postal Serv., 85 M.S.P.R 677, 680 (MSPB 2000). Non-

frivolous claims of coercion entitle an employee to a jurisdictional hearing. The

right to a hearing arises after an employee makes a nonfrivolous allegation of the

involuntariness of a retirement or resignation. See Gratehouse v. United States,

512 F.2d 1104, 1108 (Ct. Cl. 1975).

      The Agency did not contest my claims or submit contradictory evidence at

any time contradicting my assertion and evidence that I was working in accordance

to a flexible schedule approved by my supervisor Dale Reed, primarily to

accommodate my disability.    See, evidence in Exhibit 1 to support that allegation,

including documents and claims indicating the following:

         • 31 of the hours Plaintiff was charged with not working were
            attributable to his supervisor’s policy to have one-hour
            lunches, and therefore constituted “legally allowable break-
            time every employee receives.” Exhibit 1 pgs. JA33-34; see
            Exhibit 1 pg. JA125 (email from supervisor noting that lunch
            break is “one hour”); cf. Exhibit 1 pg. JA43 at “Background”
            (proposed removal noting that agency believed Plaintiff’s
            schedule included “a 30-minute non-paid lunch period mid-
            day”).

         • Plaintiff did substantial work from home outside normal
            working hours. See Exhibit 1 pg. JA126 (email referring to “at
            least 40 hours working on” a project “at home”); Exhibit 1 pgs.
            JA128-60 (emails showing Plaintiff working after normal office
            hours). Indeed, Plaintiff calculated “more than 158 hours
            worked outside of the official 7:30 am to 5:00 pm schedule,”

                                        21
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 26 of 43




            Exhibit 1 pg. JA370 at 40, which alone would surpass the 133
            hours and 35 minutes the agency claimed he did not work.
            Exhibit 1 pg. JA53.

      Additionally, two 15-minute daily legally allowable “rest-breaks” every

federal employee receives are not accounted. As an initial cursory review,

approximately 60 or so hours out of 133 hours charged for receiving pay for time not

worked are accounted for by supervisor/legally allowed break-time. More than 40

hours spent at home working on a project directly for the Management Official,

Brian McGrath. (Exhibit 1 pg. JA126; Exhibit 1 pgs. JA133-134). Mr. McGrath

testifies that he received emails from me at all times of the day and night. That

was because I was working and updating him on assignments of which he had a

status interest. (Anthony W. Perry vs. Dep’t of Commerce, MSPB Dkt. No. DC-

0752-12-0486-B-1, electronic submission of filename MSPBHearingAudioFiles/

DC120486B1_2018-09-19_DC_120486B1_8_07_13-1.MP3 at 45.300 46:20). So

Brian McGrath, the Management Official initiating my removal from the federal

government, knew I was working outside of the 7:30a – 5:00p schedule and could

have asked my supervisor Dale Reed as to why or he could have asked me if he did

not know. Within months of my 2009 graduation from the Commerce Executive

Leadership Program and completing the Information Technology Change

Management Project for Brian McGrath, the agency was retrieving my building

security access control logs. (Exhibit 1 pgs. JA139-148; Exhibit 1 pgs. JA352-56).

Accounting for actual hours worked outside of 7:30a to 5:00p, and attendance at

professional development seminars, my disability accommodation, the agency knew

or should have known from the start I was operating under a supervisory approved
                                         22
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 27 of 43




schedule. Below, additional evidence show the constructive suspension and removal

was an egregious retaliatory act for having made EEOC complaints that I was

attempting to negotiate a settlement that the agency was clearly resisting to settle.

Brian McGrath was the Management Official. (Exhibit 1 pg. JA182-193, JA233).

       Like Schultz, the “agency knew or should have known” that its “charge . . .

was no longer a viable basis” for the adverse action. (Schultz v. United States

Navy, 810 F.2d at 1137).      My supervisor was notified of the application for an

accommodation from the Disability Program Office June 13, 2011, prior to any

agreement. (Exhibit 1 pg. JA122). I was subsequently approved for a formal

disability accommodation. (Exhibit 1 pg. JA123).

      In 2005 my supervisor Reed authorized me to attend GSA CIO-University

seminars during work hours. (Am. Cmpl. § 32). Starting in 2009 I attended ELDP

leadership seminars during work hours with supervisor’s knowledge and approval.

(Am. Cmpl. ¶ 35).    Before any settlement discussions, negotiations or agreement

ever took place, the Agency knew or should have known that its Notice of Proposed

Removal was unsubstantiated and thus unjustified. (Exhibit 1 pg. JA5 at 5-13). As

a result, the Settlement Agreement imposed materially adverse personnel actions

which were coerced and appealable to the Board.

      The Board denied my right to a hearing without addressing documentary

evidence and the primary allegation that supervisor authorized an alternative work

schedule. Garcia, 437 F.3d at 1345; Covington v. Dep’t of Health & Human Servs.,

750 F.2d 937, 943 (Fed. Cir. 1984); 5 U.S.C 7513(d). The Board’s failure to hold a

hearing is an abuse of discretion. See Middleton, 185 F.3d at 1380.
                                          23
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 28 of 43




      On July 26, 2011, before a decision by the Deciding Official pursuant to the

procedure in the notice of removal, in particular reference to my response to the

removal proposal, Agency HR employee Benjamin Felder delivered the below email

dictating the terms and conditions of my continued employment with the Census

Bureau and which appears to have formed the foundation of the August 22, 2011

NDA. (Exhibit 1 pg. JA466).

         From:    Benjamin T Felder/HRD/HQ/BOC
         To:      Ronda J Brown/POL/HQ/BOC@BOC
         Cc:      Terryne F Murphy/ISSRO/HQ/BOC@BOC, Stacy
         Chalmers/HRD/HQ/BOC@BOC

         Date:    Tuesday, July 26, 2011 07:37AM
         Subject: AP Settlement

         FYI - I presented the proposed terms for settlement to Johnny Zuagar
         yesterday. He advised that he would talk to AP and get back to me.
         Hopefully, I will know something or have a counter-offer by the end of this
         week. I will let you know as soon as I have something. These were the
         terms offered:

         1. Agree to retire/resign by NLT May 30, 2011. (nonnegotiable)
         2. Agree not to apply for or accept any future positions with the BOC.
         (nonnegotiable)
         3. Agree not to engage in any further misconduct. (nonnegotiable)
         4. Accept a 60-day suspension.
         5. Accept a reassignment to an already identified area.
         6. Accept a demotion to a non-supervisory GS-13 position.
         7. Withdraw all pending complaints/cases against the Agency.
         (nonnegotiable)
         8. Agree not to file a claim against the Agency concerning this matter.
      (nonnegotiable)

      This email is coercive and a prohibited personnel practice. At this point,

there had been no decision by the Deciding Official to my response to the charges.

The law here on voluntariness is clear. By showing that the agency threatened to



                                         24
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 29 of 43




take a future disciplinary action that it knew or should have known could not be

substantiated, then a resulting settlement agreement is coerced and thus

involuntary. (Schultz v. U.S. Navy, 810 F2.d at 1136; Fassett v. U.S. Postal Serv.,

85 M.S.P.R. 677, 680 (MSPN 2000)). I therefore had a right to a hearing on the

merits. Garcia v. Dep’t of Homeland Sec., 437 F.3d at 1344. The Board’s analysis of

its own jurisdiction often overlaps with the merits of a claim that a personnel

action was coerced by discrimination or otherwise involuntary. see Boyd v. Dep’t of

Transp., 21 Fed Appx 906, 909 (Fed Cir. 2001) (reviewing Board jurisdictional

decision that turned on whether allegations of hostile work environment were non-

frivolous); Powell v. Dep’t of Defense, 158 F.3d at 599 (noting that “evidence of

voluntariness or constructive termination [may be] more closely ‘related to the

merits of a discrimination claim. (Perry v. MSPB, Dkt. 14-1155 D.C. Cir (2015),

Pet. Opening Br. at 34-35).

      A “facially voluntary action by the employee may actually be involuntary”, if

coerced by the agency.     Garcia, 437 F.3d at 1324.      (“For example, although a

resignation is ostensibly a voluntary separation from employment, it is possible that

an employee can be coerced into resigning by actions of the employing agency.”)

Shoaf v. Dep’t of Agric., 260 F.3d 1336, 1340-41 (Fed. Circ. 2001).

      The Board failed to consider my allegations and evidence about the basis for

the threatened removal or the documentary evidence and allegations of a supervisor

authorized work schedule. (Exhibit 1 pgs. JA300-01). See Shoaf v. Dep’t of Agric.,

260 F.3d at 1342-43 (Board “abused its discretion” by failing to consider “the totality



                                          25
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 30 of 43




of the circumstances in determining whether [petitioner’s] resignation was

involuntary”); Middleton v. Dep’t of Defense, 185 F.3d 1374, 1380 (Fed. Cir. 1999)

(Board must “view[] as a whole” “[a]ll relevant non-frivolous allegations” in

determining whether a jurisdictional hearing is warranted), and failure to do so is a

clear violation of administrative law.

   C. Agency Knowingly Engaged In Misrepresentation, Fraud and Extortion

      Coercion can take on a number of forms. Before any agreement, I explained

in the response to the proposed removal that I was working in accordance to a

supervisor approved schedule without objection or intervention from management.

      It is also settled law that actions “approved in advance” by a federal

employee’s “supervisor” cannot be “relied upon by the agency in its decision to

remove” an employee. Hite v. U.S. Postal Serv., 168 F. App’x 436, 437 (Fed. Cir.

2006); See Morall v. Drug Enforcement Admin., 412 F.3d 165, 167 (D.C. Cir. 2005)

(agency “decision cannot withstand review, because it fails to consider contradictory

record evidence where such evidence is precisely on point”). El Rio Santa Cruz

Neighborhood Health Ctr. v. U.S. Dep’t of Health & Human Servs., 396 F.3d 1265,

1278 (D.C. Cir. 2005) (finding agency action arbitrary and capricious in failing to

address relevant evidence before it).

      This short timeline excerpt emphasizes the fraud and the extortion.          The

proposal to remove by an employee who was not my supervisor issued June 2007;

June 30 2011 I responded to the charges of misconduct; July 26, 2011 Human

Resources email dictating the terms, conditions and privileges of my employment;



                                         26
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 31 of 43




August 16, 2011 I was presented a NDA with similar terms in email above; August

22, 2011 Ronda Brown faxed the NDA and a statement professing an agreement

between me and the Agency to EEOC; August 26, 2011 Deciding Official Terryne

Murphy rendered her decision of 30-day suspension only without appeal rights and

requirements of 5 U.S.C. 7513. This violates the procedure identified in the notice

of removal and is retaliatory, a continuation of the hostile work environment to

which I was subjected, fraud, intended to extort me into an agency desired position

and conspiracy to coerce me into the same.        August 16, 2011 NDA and the

personnel actions therein, and the delay in the Deciding Official’s decision until

after imposition of a NDA are egregious coercive acts, extortion and “materially”

adverse personnel employment actions that violate my due process, continues the

hostile work environment and retaliation for my prior complaints.       Burlington

Northern & Santa Fe Railway v. White, 583, 53 (2006); National Railroad

Passenger Corp. v. Morgan, 536 U.S. 101 (2002).

      In Shultz, the petitioner submitted to the agency a bona fide request for an

accommodation due to illness. 810 F.2d at 1134-35. The agency denied her request,

threatened her with “disciplinary action up to removal” in light of her

“unauthorized absence status,” and forced her to choose between returning to work

immediately or voluntarily resigning. Id. at 1135. The petitioner resigned. Id. She

appealed to the Board, but the Board held that it lacked jurisdiction over her

“voluntary” resignation. Id.




                                        27
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 32 of 43




      The Court of Appeals reversed. In light of the supporting documentation the

petitioner had provided, the court found that “the agency acted coercively in

denying her leave request and forcing a retroactive resignation.” Id. at 1136. “That

the agency official may not have been “personally aware” of the full details of

petitioner’s situation and request at the time did not matter, since the agency’s

position became untenable once petitioner provided the necessary supporting

documentation.” Id. In short, the “agency knew or should have known” that its

“charge . . . was no longer a viable basis” for the adverse action. Id. at 1137.

      I was working in accordance with a supervisor approved disability

accommodation. On June 13, 2011 the agency was notified of my application for a

formal disability accommodation. After my June 30, 2011 response to the charges,

Union Representatives communicates that the Agency will terminate me

immediately if I take the matter to the EEO Office or refuse to sign. Subsequently,

I was served an NDA requiring resignation, suspension and other adverse actions.

(Am. Cmpl. ¶ 51; Exhibit 1 pg. JA504 at h.; Electronic Submission of MSPB Audio

File filename MSPBHearingAudioFiles/DC120486B1_2018-09-

19_DC_120486B1_8_07_13-3.MP3 at 44:20-46:00). After the Agency secured my

signature, the Deciding Official decided on 30 day suspension only but sustains the

charges. (Exhibit 1 pg. JA72 ¶ 3). My request to rescind retirement was denied.

(Exhibit 1 pg. JA69). The Agency action and the MSPB failure to provide a hearing

cannot stand.

      At all times after June 7, 2011, I remained under the threat of termination

and threat of immediate termination pursuant to the NDA.           (Exhibit 1 pg. JA43;

                                           28
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 33 of 43




Exhibit 1 pg. JA16 at d.). By using Mr. Gutschow, an employee who was not my

supervisor, to propose my removal, the Agency’s action does not have a solid or

substantial basis in personnel practice or principle and is a violation of my

statutory and constitutional due process, equal protection and property rights. (M.

Roskos v United States, 549 F.2d 1386 (Fed Cir. 1977).

      Documentary evidence shows my work schedule was supervisor approved and

work products superior, which included after-hours work for missed time. (Exhibit

1 pgs. JA30-34; Exhibit 1 pg. JA65); see Exhibit 1 pg. JA125 (email from supervisor

noting lunch break is “one-hour”); Exhibit 1 pg. JA127; cf. Exhibit 1 pg. JA43

(proposed removal noting that the agency believed my schedule included a “30-

minute non-paid lunch period). The Notice also shows the agency knew or should

have known it charged me with misconduct for at least 60 hours of “legally

allowable break-time and a minimum of 40 hours working on a project for the

Management Official months before the misconduct charges were file.”         Dated

emails to the Management Official, my supervisors and his testimony before the

MSPB, reveals that he received email messages from me “all times of the day and

night”. That was because of status updates I provided on projects he assigned to

me. (Anthony W. Perry vs. Dep’t of Commerce, MSPB Dkt. No. DC-0752-12-0486-B-

1, electronic submission of filename MSPBHearingAudioFiles/DC120486B1_2018-

09-19_DC120486B1_2018_8_07_13-1.MP3 at 57:20-1:02:10).

      In Crane v. Dep’t of the Air Force, 240 F. App’x 415, 418 (Fed. Cir. 2007)

(“Precedent generally requires notice to an employee when previously condoned



                                        29
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 34 of 43




activity is no longer condoned, giving the employee the opportunity to conform to

any new rules.”

      See also Motor Vehicle Mfrs. Ass’n of U.S., Inc. v. State Farm Mut. Auto Ins.,

463 U.S. 29, 43 (1983) (agency’s decision is arbitrary and capricious when it

“entirely failed to consider an important aspect of the problem,” and a “reviewing

court should not attempt itself to make up for such deficiencies”). The failure of the

Board to consider all relevant evidence and then to deny a hearing on my non-

frivolous claim that the agency knew its adverse personnel actions were unjustified

and that the Settlement Agreement was therefore coerced is an abuse of discretion,

violation of administrative law; constitutional law of due process, property rights,

equal protection; and federal employment law.           5 U.S.C. 7513(d); 5 U.S.C.

7702(b)(2).

      As an initial matter with the issue below, the implementation of a sign-in

procedure in April 2011 and ended in May 2011 was done with an improper motive

to “run up” misconduct specifications.     I repeatedly asked supervisor Reed the

reason for the new sign-in procedure.      Exhibit 1 pg. JA32 at 10.        Once my

supervisor provided an explanation for the new procedure, I started to use the sign-

in procedure until discontinued the following month. The explanation Dale Reed

gave was, “it was to get you”. Improper motive to further antagonize considering I

had filed the prior pending EEOC actions is relevant in determining whether an

agency’s action is of improper motive, unwarranted and arbitrary, capricious, and

an abuse of discretion. It is all three and further hostility. Further, the Agency is



                                         30
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 35 of 43




required by 7513(d) to explain how an adverse action taken for not using a sign-in

log that was not an organization-wide requirement, policy or procedure and which

ended one month or so later while awaiting an explanation promotes the efficiency

of the service. No explanation exists.      It was to target me and this is racially

disparate and retaliatory treatment.

      In Whitmore, past antagonistic actions are relevant to the instant personnel

actions no matter how far in the past. (Whitmore v. Dep’t of Labor, No. 11-3084

(Fed. Cir (2012)).

   D. Agency Maintained A Retaliatory And Hostile Work Environment And Used

      Prohibited Personnel Practices

      Agency employees created and maintained a discriminatory and hostile work

environment persistently depriving me of opportunities provided to other Caucasian

employees. Agency denied my constitutional right to equal protection, due process,

property rights, engaged in prior restraint and took adverse actions acting under

the color of right. 43 U.S.C. § 1983. I filed a series of complaints for non-selection,

non-competitive promotions for Caucasian employees denying me equal opportunity

for promotions and unfair performance evaluations. (Anthony W. Perry v. MSPB,

MSPB Docket No. DC-0752-12-0486-B-1, Tab13 Vol.1 Jul 8, 2013). The agency then

used a nondisclosure gag/agreement to conceal its adverse actions it could not

sustain and communicated its intent to terminate me if I didn’t sign the agreement

or made a report to the EEOC. (Anthony W. Perry vs. Dep’t of Commerce, MSPB

Dkt. No. DC-0752-12-0486-B-1, electronic submission of filename



                                           31
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 36 of 43




MSPBHearingAudioFiles/DC120486B1_2018-09-19_DC_120486B1_8_07_13-3.MP3

at 44:20-46:00). The Title VII anti-retaliation provision covers only those employer

actions that would have been materially adverse to a reasonable employee or

applicant. Burlington No. & Santa Fe Rlwy v. White, 548 U.S. 53, 15-18 (2006). A

retaliation plaintiff must show that the challenged action "well might have

dissuaded a reasonable worker from making or supporting a charge of

discrimination.'" (Rochon v. Gonzales, 438 F. 3d 1211, 1219).

      Of significant importance is my unilateral supervisory code change in 2001,

subsequent non-promotions to GS-15 and removal from the position of Special

Assistant to the Division Chief by Chief of LTSO Thomas Meerholz in 2006, a

position I earned in a competitive application process. (Exhibit 1 pgs. JA527-529);

Exhibit 1 pgs. JA195-96); (Exhibit 1 pgs. JA182-92; Exhibit 1 pg. JA357).

      Starting in 2001, I was repeatedly denied promotion to GS-15. In 2006,

Thomas Meerholz unilaterally removed me from the position of Special Assistant to

the Division Chief to give advantage to Patricia Musselman and Jason Schaufle for

promotion to GS-15. (Exhibit 1 pg. JA162; Exhibit 1 pg. JA196 at III 1.)    The

action paved way for the subsequent appointment of Patricia Musselman to

Assistant Division Chief and subsequently noncompetitive placement as Division

Chief of LTSO. Another prohibited personnel action 5 U.S.C 2302 (b)(6), (b)(9).

Mr. Meerholz, Patricia Musselman and Dale Reed repeatedly denied me training

and the opportunity to “act” or temporarily occupy temporary GS-15 vacancies and

then used “recent supervisory experience” to justify promotion of Mr. Schaufle and



                                         32
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 37 of 43




Ms. Musselman as having more recent supervisory experience for two of three GS-

15 vacancies. Mr. Meerholz and Patricia Musselman also approved unfair

performance evaluations by Dale Reed and denied me training. Mr. Meerholz also

admitted to the destruction of interview and rating documents in EEO complaint

08-63-00072. (Exhibit 1 pg. JA232). (Burlington Northern and Santa Fe Railway

v. White). (Where “the anti-retaliation provision does not confine the actions and

harms it forbids to those that are related to employment or occur at the workplace”.)

(“. . . the anti-retaliation provision's purpose of "[m]aintaining unfettered access to

statutory remedial mechanisms,"’) Robinson v. Shell Oil Co., 519 U. S. 337, 346.

Thomas Meerholz, Patricia Musselman, Dale Reed and Management Official Brian

McGrath created a hostile work environment to deny me promotion to GS-15 and

training opportunities. (Exhibit 1 pg. JA171). In those instances, the agency would

have benefited from my contribution and expertise. (National Railroad Passenger

Corp. v. Morgan, 536 U.S. 101 (2002)). (where “a charge alleging a hostile work

environment will not be time barred if all acts constituting the claim are part of the

same unlawful practice and at least one act falls within the filing period …”);

Meritor Savings Bank, FSB v Vinson 477 U.S. 57 64-65 (1986).

      The terms, conditions and privileges of supervisory code 2 classification are

substantially significant compared to code 4 supervisory classification. It is the

difference of code 2 having a staff and authority to perform ratings and performance

evaluations and code 4 not. H.R. Director Tyra Smith approved my supervisory

classification code change from code 2 to code 4 without notifying me and without



                                           33
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 38 of 43




cause. (Exhibit 1 pgs. JA-527-29; see box 7, 15, 45).   This was a significant change

in the terms and condition of my employment with the Census Bureau and is also a

adverse and prohibited personnel action. (5 U.S.C. 2302(b)(9); (Exhibit 1 pg.

JA529). I made repeated attempts to get these documents voluntarily. I finally

obtained them via a FOIA request as part of the MSPB appeal of the instant action.

(Exhibit 1 pg. JA529).

      The named Defendants denied my first, fifth, and fourteenth amendment

rights imposing a NDA gag/agreement (a prohibited personnel practice and

violation of 5 U.S.C. 2302(b13)) with unsubstantiated charges of misconduct,

unjustified denials of critical training requests, specifically PMI Project

Management Certification and the Harvard University or George Washington

University advanced leadership training, failure to follow 5 U.S.C. 2302 (Merit

Systems Principles) in personnel practices and decisions.

       Brian McGrath and Human Resources denied repeated requests to be

reassigned from under Dale Reed and Patricia Musselman but reassigned me as a

term and condition of my employment. (Exhibit 1 pgs. JA208-210); Exhibit 1 pg.

JA16 at f.). The intent was to place me into the coercive situation requiring my

retirement and forfeiture of pending EEOC claims as discussed above.

      All EEO cases go to the Office of Civil Rights for investigation. Susan

Aramaki, Department of Commerce Chief of the Office of Civil Rights failed to take

any action to protect me from repeated discriminatory and hostile actions by the

agency. Her office failed to appropriately respond to my repeated complaints of



                                           34
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 39 of 43




violation of my statutory and constitutional rights and her office acted in bad faith

in my attorney’s attempts to settle prior pending disputes. (Am. Cmpl. ¶¶ 112-117);

Exhibit 1 pgs. JA357-59) She approved faulty Reports of Investigations and

allowed settlement negotiations to proceed in bad faith which my previous attorney

noted in EEO No. 08-63-00072. (Exhibit 1 pgs. JA232-34).

      The Office of Special Counsel has ruled nondisclosure gag/agreements

(NDA) requiring the waiver of rights and not containing specific language is a

prohibited personnel practice and as a general matter NDAs have been ruled as

coercive, prior restraint, per se retaliation, per se discrimination, per se retaliation

and violates EEOC Guidance on non-waivable rights 915.002 (1978). (Exhibit

Exhibit 1 pgs. JA508-511); (Exhibit 3 pgs. 18-28 start at III.); (Exhibit 4 pg. 3 at B.,

pg.5 at IV). In the instant case, the NDA contains a “gag clause” which was

intended to hide that the agency was unable to substantiate its charged misconduct.

(Exhibit 1 pg. JA60 at 6). The charges are coercive and denied my due process and

impeded my ability to contest the validity of the charges against me or file a

complaint while still employed. This NDA and the adverse actions imposed violates

5 U.S.C. §§ 2302 (b)(9), (b)(12), and (b)(13).

      Below, I filed these unresolved prohibited personnel practices complaint and

whistleblower complaints with the Office of Special Counsel: MA-11-2619, MA-12-

4640, MA-13-1126, MA-14-4479, and DI-14-4483. After the imposition of the

nondisclosure gag/agreement and in early September, the Deciding Official Terryne

Murphy told me that she expected that I would withdraw any other complaints I



                                            35
        Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 40 of 43




might have pending. 5 U.S.C. § 2302(b)(9).     I provided this confirmation email to

Johnny Zuagar confirming I had withdrawn my pending Office of Special Counsel

whistleblower complaint. (Exhibit 5 pgs. 3-4). I did so under the NDA’s threat of

immediate termination at the agency’s discretion just as I did not file an EEOC

action while still employed. (Exhibit 1 pg. JA16 at d.). At all times after June 7,

2011, I worked under the threat of termination and subsequent to the NDA I risked

immediate termination at the discretion of the agency.

VII.    Summary Judgments

        This Court should also make the following rulings on the remaining claims in

the Amended Complaint.

   1. Count I.      Involuntary Suspension and Retirement Due to Coercion,

        Duress and Unlawful Acts

        For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Summary Judgment as to Count I. (See Am. Cmpl. ¶¶ 72-88); Exhibit 1

pgs. JA579-581).    I request immediate reinstatement and return to status quo

ante.

   2. Count IV.     42 U.S.C § 1983 only (withdraw § 1981 claims)

        For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Partial Summary Judgment as to Count IV § 1983 for deprivation of my

rights and hostile work environment against Defendants in personal and official

capacities. (Am. Cmpl. ¶¶ 112-117 and ¶¶ 24-111). [see Errata]




                                          36
        Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 41 of 43




   3. Count VI.      Bias, Statutory, Administrative and Constitutional Violations by

        MSPB

        For the reasons stated in the evidentiary record, the Court should grant

Plaintiff Anthony W. Perry’s Motion for Summary Judgment as to Count VI. (AM.

Cmpl. ¶¶ 127-147).

   4. Count VII.     Fraud

        For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Summary Judgment as to Count VII against named Defendants in their

personal and official capacities except, Tyra D. Smith. (Am. Cmpl. ¶¶ 31-35, ¶¶

148-154 ).

   5. Count VIII. Conspiracy to Commit Fraud

        For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Summary Judgment as to Count VIII against named Defendants in their

personal and official capacities, except Tyra D. Smith.   (Exhibit 1 pg. JA466; See

Am. Cmpl. ¶¶ 148-160).

   6. Count IX.      Extortion

        For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Summary Judgment as to Count IX against all named Defendants in

their personal and official capacities, except for Tyra D. Smith. (Am. Cmpl. ¶¶ 161-

171).

   7. Count X.       Conspiracy to Commit Extortion




                                          37
      Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 42 of 43




      For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Summary Judgment as to Count X against all named Defendants in

their personal capacities except Tyra D. Smith. (Am. Cmpl. ¶¶ 161-175).

   8. Count XI.     Defamation

For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s Motion

for Summary Judgment as to Count XI. (Am. Cmpl. ¶¶ 176-183).

   9. Count XII.    Negligent Training and Supervision

For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s Motion

for Summary Judgment as to Count XII. (Am. Cmpl. ¶¶ 184-191).


   10. Count XIII. Federal Tort Claims

For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s Motion

for Summary Judgment as to Count XIII violations of FTCA for negligence with

malice and reckless disregard and negligent infliction of emotional distress. (Am.

Cmpl. ¶¶ 193-204 and ¶¶ 24-192).

   11. XIV. Violation of Whistleblower Protections of WPA and WPEA of 2012

For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s Motion

for Summary Judgment as to Count XIV. (Am. Cmpl. ¶¶ 216-218); (Exhibit 1 pg.

JA5 at 21).

   12. Intentional Infliction of Emotional Distress

      For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Summary Judgment as to claim of intentional infliction of emotional

distress.   (Am. Cmpl.¶¶ 205-215 and ¶¶ 24-204).


                                          38
        Case 1:17-cv-01932-TSC Document 30-3 Filed 11/19/18 Page 43 of 43




   13. Privacy Act Violation

        For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Summary Judgment as to Privacy Act Violations. (Am. Cmpl. ¶¶ 72-

221).

   14. Hostile Work Environment and Harassment

        For the reasons stated, the Court should grant Plaintiff Anthony W. Perry’s

Motion for Summary Judgment as to hostile work environment and harassment

violations.   (Am. Cmpl. ¶¶ 72-221).

   VIII. CONCLUSION

        For the foregoing reasons and pursuant to the Court’s Order regarding

“underlying discrimination claim”, this Court should grant Summary Judgment for

all claims, except Counts II, III, and V (the underlying discrimination claims), in

favor of Plaintiff Anthony W. Perry and order immediate reinstatement and deliver

judgment in favor of Plaintiff for all prior pending EEOC cases/claims.   The Court

should then proceed with de novo review of the underlying discrimination claim(s)

in the instant case.



                                                        Respectfully submitted,




                                                        Anthony W. Perry




                                          39
